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                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,     )
                              )               CASE NO.     CR-07-173-S-EJL
               Plaintiff,     )
                              )               ORDER FOR PREPARATION
     vs.                      )               OF REPORTER’S TRANSCRIPTS
                              )
FRANCISCO CHAIREZ-AGUIRRE,    )
                              )
               Defendant.     )
______________________________)

      The   Court    reviewed   Defendant’s       Motion   for    Preparation   of
Reporter’s Transcripts for the Change of Plea hearing held on
February 14, 2008, and Sentencing hearing held on June 2, 2008,
and having previously determined the Defendant is indigent and was
appointed counsel.        The Court finds that good cause exists and
directs that the Change of Plea and Sentencing transcripts ordered
in this matter be prepared at expense of the United States.
                                      ORDER
      Based   on    the   foregoing    and     being   fully     advised   in   the
premises the Court GRANTS Defendant’s motion (Dkt. No. 438).


                                      DATED:    June 16, 2008




                                      Honorable Edward J. Lodge
                                      U. S. District Judge




ORDER FOR PREPARATION OF REPORTER’S TRANSCRIPTS
